                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


  UNITED STATES OF AMERICA                   )
                                             )
                                             )
  vs.                                        ) NO. 3:21-CR-126
                                             ) Judges Crytzer/Poplin
  MARCO ANTONIO CARDENAS,                    )
                                             )

        DEFENDANT’S MOTION TO CONTINUE DEADLINE TO FILE A PLEA
                 AGREEMENT AND RELATED DEADLINES

           COMES NOW the Defendant, Marco Cardenas, by and undersigned counsel, and

  moves this Honorable Court to continue his deadline to file a plea agreement and related

  deadlines. Mr. Cardenas is currently negotiating a resolution for this case with the United

  States, and Mr. Cardenas is waiting for the United States to provide Defendant with the

  necessary agreement. Defendant had discussed the extension of the plea deadline and related

  deadlines with the United States, and they do not object to the extension. Without objections

  and in the best interest s of justice, Mr. Cardenas deadline to file a plea agreement and

  related deadlines should be extended for the Parties to negotiate the resolution of this case.


         Respectfully Submitted this 10th day of August, 2022.

                                             /s/ Hoai Robinette, BPR # 036174
                                             /s/ Phil Lomonaco,, BPR # 11579
                                             Attorneys for Defendant
                                             800 S. Gay Street, Suite 2031
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                               CERTIFICATE OF SERVICE

                 Undersigned counsel hereby certifies that on August 10th, 2022, the foregoing
  was filed electronically. Notice of this filing was sent by operation of the court’s electronic
  filing system to all parties indicated on the electronic filing receipt. Parties may access this
  filing through the Court’s electronic filing system.

                                              /s/ Hoai R. Robinette
                                              Hoai Robinette




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